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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                           )
SOLENEX LLC,                               )
                                           )
              Plaintiff,                   )
                                           )
                      v.                   )
                                           )                 Case No. 13-cv-993-RJL
                                           )
RYAN ZINKE, Secretary of the United        )
States Department of the Interior, et al., )
                                           )
              Federal Defendants,          )
                                           )
        and                                )
                                           )
BLACKFEET HEADWATERS ALLIANCE,             )
et al.,                                    )
                                           )
              Intervenor-Defendants.       )
__________________________________________)


                                     NOTICE OF APPEAL

       Please take notice that the Secretary of the Interior, the Secretary of Agriculture, the

United States Bureau of Land Management, the United States Forest Service, and the other

federal officials named as defendants in this case, hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from the District Court’s September 24, 2018

Memorandum Opinion, ECF No. 130, and its Order of the same date granting Plaintiff’s motion

for summary judgment, denying Federal Defendants’ cross-motion for summary judgment, and

ordering further relief. ECF No. 131.

       Respectfully submitted this 20th day of November, 2018.

                                                      JEAN E. WILLIAMS
                                                      Assistant Attorney General
                                                      United States Department of Justice

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                                  Environment and Natural Resources Div.

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                            CERTIFICATE OF SERVICE

        I hereby certify that on November 20, 2018, a copy of the foregoing was served by
electronic means on all counsel of record by filing it in the Court’s CM/ECF system.


                                     /s/ John S. Most
                                      JOHN S. MOST




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